Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 1 of 12
&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: MA Category No. I Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:

Superseding Ind./ Inf. Case No.

Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule [| Yes | No
40.1(h)? If yes, case number

Defendant Name Eric J. Mathison Juvenile: [| Yes |/| No

Is this person an attorney and/or a member of any state/federal bar: [ | Yes lv] No

23-5046-JGD

Defendant Information:

Alias Name:

Address: East Boston, MA

Birth date (Yr only): A977— SSN (last 4#): 9588 Sex: M Race W Nationality: US
Defense Counsel if known: Address:

Bar Number:

U.S. Attorney Information

AUSA: Christine Wichers, Adam Deitch Bar Number if applicable:

Interpreter: [ | Yes lv] No List language and/or dialect:

Victims: [ | Yes lv] No If yes, are there multiple crime victims under 18 USC§$3771(d)(2) [| Yes [| No
Matter to be SEALED: lv Yes [| No

Warrant Requested [ | Regular Process [ | In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as of in .

[| Already in State Custody at [ | Serving Sentence [| Awaiting Trial
[_ On Pretrial Release: | Ordered by: on

Charging Document: [| Complaint [| Information Indictment

Total # of Counts: [_ |Petty [__|Misdemeanor Felony 1

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 1/25/2024 Signature of AUSA: (YAy } L Ve (Ve /——

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 2 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Eric J. Mathison

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers

Set 1 18 USC 1951 Conspiracy to Commit Extortion 4
e

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
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®&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. I Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:
Bounty Norfolk Superseding Ind./ Inf. Case No.

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule
40.1(h)? If yes, case number

Defendant Information:

Defendant Name Scott Camara

Same Defendant

New Defendant

23-5046-JGD

[| Yes [Y| No
[| Yes [¥] No

Juvenile:

Is this person an attorney and/or a member of any state/federal bar: [ | Yes lv] No

Alias Name:

Address: Rehoboth, MA

Birth date (Yr only): 1981 SSN (last 4#): (6789

Defense Counsel if known: Anthony Riccio

Sex: M

Race W Nationality: US

Address: 1147 Hancock St., Ste 212

Bar Number: 681871

U.S. Attorney Information
Christine Wichers, Adam Deitch

Quincy, MA 02169

Bar Number if applicable:

AUSA:
Interpreter: [ | Yes lv] No
Victims: [ | Yes lV] No

|| Yes [ | No

[ | Regular Process

Matter to be SEALED:

Warrant Requested

Location Status:

List language and/or dialect:

If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [ | No

[| In Custody

Arrest Date:

[| Already in Federal Custody as of

in

[] Already in State Custody at [| Serving Sentence [| Awaiting Trial
[] On Pretrial Release: | Ordered by: on
Charging Document: [ | Complaint [| Information Indictment

Total # of Counts:

| |Petty

[| Misdemeanor

Felony 2

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 1/25/2024

Signature of AUSA: ( /

Vy /\ fi 4g JN

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 4 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Scott Camara

U.S.C. Citations
Index Key/Code Description of Offense Charged
18 USC 371 Conspiracy to Falsify Records

Set |

Count Numbers

18 USC 1623 Perjury
Set 2

74

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 5 of 12
&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. I Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:
Superseding Ind./ Inf. Case No,
Norfolk -
Conky Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule
40.1(h)? If yes, case number

23-5046-JGD, 23-5493-JGD

[ | Yes | No

Defendant Information:

Defendant Name Joel Rogers Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes lv No

Alias Name:

Address: Bridgewater, MA

Birth date (Yr only); 1969 SSN (last 4#): 7358 Sex: Ms Race W Nationality; US

Defense Counsel if known: Kevin R. Mullen Address: 15 Foster St.

600535 Quincy, MA 02169

Bar Number:

U.S. Attorney Information

AUSA: Christine Wichers, Adam Deitch Bar Number if applicable:

Interpreter: [| Yes lv] No List language and/or dialect:

Victims: [| Yes lv] No If yes, are there multiple crime victims under 18 USC§$3771(d)(2) [| Yes [| No
Matter to be SEALED: lv | Yes [| No

Warrant Requested [ | Regular Process [] In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as of

in

[| Already in State Custody at

[| Serving Sentence [ | Awaiting Trial

[| On Pretrial Release: | Ordered by:

on

Charging Document: [|Complaint

Total # of Counts:

[ | Petty

Indictment
[Misdemeanor Felony 1

[ | Information

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 1/25/2024

Signature of AUSA: (° Ae: ‘ \ A d me .

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 6 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Joel Rogers

U.S.C. Citations
Index Key/Code Description of Offense Charged Count Numbers
18 USC 371 Conspiracy to Falsify Records 1

Set 1

Set 2

Set 3

Set 4

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 7 of 12

&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. I Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:
Superseding Ind./ Inf. Case No.
Norfolk
ounty Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule
40.1(h)? If yes, case number

Defendant Information:

23-5046-JGD, 23-5311-JGD

[| Yes | No

Defendant Name Perry Mendes Juvenile: [| Yes |W} No
Is this person an attorney and/or a member of any state/federal bar: [| Yes lv] No

Alias Name:

Address: Wareham, MA

Birth date (Yr only): 1960 ssn (last 4#): 9049

Defense Counsel if known: R. Bradford Bailey

Sex: M

Race Nationality: US

Address: 44 School St., Ste 1000

Bar Number: 549749

U.S. Attorney Information
AUSA: Christine Wichers, Adam Deitch

Boston, MA 02108

Bar Number if applicable:

[| Yes [VY] No
[| Yes [Y|No

Matter to be SEALED: lV | Yes [| No

[| Regular Process

Interpreter:

Victims:

Warrant Requested

Location Status:

List language and/or dialect:

If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [ | No

[ | In Custody

Arrest Date:

[] Already in Federal Custody as of

in

[| Already in State Custody at

[ | Serving Sentence [| Awaiting Trial

[ | On Pretrial Release: Ordered by:

on

Charging Document: [ |complaint

Total # of Counts:

[_ ]Petty

Indictment
Felony 10

[ | Information

[ | Misdemeanor

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 1/25/2024

QV |
Signature of AUSA: ( 7 A x SS \

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 8 of 12

JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Perry Mendes

Index Key/Code
18 USC 371

Set 1

U.S.C. Citations

Description of Offense Charged

Conspiracy to Falsify Records

Count Numbers

18 USC 1951
Set 2

Conspiracy to Commit Extortion

18 USC 1519
Set 3

Falsification of Records

18 USC 1001(a)(2
Set 4 (a)(2)

False Statements

Set 5

Set 6

Set 7

Set 8

Set 9

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

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&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense: MA Category No. I Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:
Superseding Ind./ Inf. Case No.
Norfolk
Coumy Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Is this case related to an existing criminal action pursuant to Rule
40.1(h)? Ifyes, case number

Defendant Information:

23-5046-JGD

[| Yes lV No

Defendant Name Calvin Butner Juvenile: [| Yes |/| No
Is this person an attorney and/or a member of any state/federal bar: [| Yes lv] No

Alias Name:

Address: Halifax, MA

Birth date (Yr only): 1960 —_ SSN (last 4#): 1453.

Defense Counsel if known: William H. Connolly

Sex: M

Race B Nationality: US

Address: 20 Park Plaza, Ste 1000

Bar Number: 634501

U.S. Attorney Information
AUSA: Christine Wichers, Adam Deitch

Boston, MA 02116

Bar Number if applicable:

Interpreter: [ | Yes lV No
Victims: [ | Yes lv] No
Matter to be SEALED: lyves [] No

Warrant Requested [] Regular Process

Location Status:

List language and/or dialect:

If yes, are there multiple crime victims under 18 USC§3771(d)(2) [ | Yes [ | No

[| In Custody

Arrest Date:

[ | Already in Federal Custody as of

in

[| Already in State Custody at

[ ] Serving Sentence [ | Awaiting Trial

[| On Pretrial Release: | Ordered by:

on

Charging Document: [ |complaint

Total # of Counts:

[ | Petty

Indictment
Felony 19

[| Information

[| Misdemeanor

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 1/25/2024

\
Signature of AUSA: ( KA LA

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JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):
Calvin Butner

Name of Defendant
U.S.C. Citations
Index Key/Code Description of Offense Charged Count Numbers
Sat | 18 USC 371 Conspiracy to Falsify Records 1
e
18 USC 1951 Conspiracy to Commit Extortion 4
Set 2
18 USC 1519 Falsification of Records 35-40
Set 3
ji 18 USC 1519, 2 Falsification of Records; Aiding and Abetting 44-46
Set
Set 5 18 USC 1001(a)(2) False Statements 64-68
et
Set 6 18 USC 1001(a)(2), 2 False Statements; Aiding and Abetting 71-73
et
Set 7
Set 8
Set 9
Set 10
Set 11
Set 12
Set 13
Set 14
Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

Case 1:24-cr-10024-IT Document 1-1 Filed 01/25/24 Page 11 of 12
®&JS 45 (5/97) - (Revised U.S.D.C. MA 9/20/2023)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: MA Category No. II Investigating Agency HSI, DOT-OIG
City Stoughton Related Case Information:

Superseding Ind./ Inf. Case No.

Same Defendant New Defendant

Magistrate Judge Case Number
Search Warrant Case Number
R 20/R 40 from District of

Wi co 5 Is this case related to an existing criminal action pursuant to Rule Yes No
Defendant Information: 40.1¢h)? Ifyes, case. numbet L]

Defendant Name Gary Cederquist Juvenile: [| Yes [Y] No

Is this person an attorney and/or a member of any state/federal bar: [ | Yes lv] No

23-5046-JGD, 23-5310-JGD

Alias Name:

Address: Stoughton, MA

Birth date (Yr only): 1965 SSN (last 4#): 1461 Sex: Ms Race W Nationality; US
Defense Counsel if known; Vincent DeMore Address: 141 Tremont St., Ste 300
Bar Number: 671136 Boston, MA 02111

U.S. Attorney Information

AUSA: Christine Wichers, Adam Deitch Bar Number if applicable:

Interpreter: [| Yes lv] No List language and/or dialect:

Victims: [| Yes lv] No If yes, are there multiple crime victims under 18 USC§3771(d)(2) [| Yes [ | No
Matter to be SEALED: lV Yes [_] No

Warrant Requested [ | Regular Process [ | In Custody

Location Status:

Arrest Date:

[| Already in Federal Custody as of in .

[| Already in State Custody at [ | Serving Sentence [ | Awaiting Trial
[ | On Pretrial Release: | Ordered by: on

Charging Document: [ | Complaint [ ] Information Indictment

Total # of Counts: [_ ]Petty L_]Misdemeanor Felony 97

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

fo \ jh [ . —_——
Date: 1/25/2024 Signature of AUSA: ( ‘ Nis, \ L \s co

Case 1:24-cr-10024-IT Documenti-1 Filed 01/25/24

JS 45 (5/97) (Revised U.S.D.C. MA 9/20/2023) Page 2 of 2 or Reverse

Page 12 of 12

District Court Case Number (To be filled in by deputy clerk):

Name of Defendant Gary Cederquist
U.S.C. Citations
Index Key/Code Description of Offense Charged Count Numbers
Set 1 18 USC 371 Conspiracy to Falsify Records 1-3
e
18 USC 1951 Conspiracy to Commit Extortion 4-6
Set 2
18 USC 1951 Extortion 7-9
Set 3
acpi 18 USC 1341, 1346 Honest Services Mail Fraud 10-15
et
ae5 18 USC 1519 Falsification of Records 16-34
e
Set 6 18 USC 1519, 2 Falsification of Records; Aiding and Abetting 44-46
et
set 7 18 USC 1001(a)(2) False Statements 47-63
e
Set 8 18 USC 1001(a)(2), 2 False Statements; Aiding and Abetting 71-73
e€
Set 9
Set 10
Set 11
Set 12
Set 13
Set 14
Set 15

ADDITIONAL INFORMATION:

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013

